            Case 1:05-cv-02897-RDB Document 2 Filed 11/17/05 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

DOUGLAS FAUCONIER                                   :

        Petitioner                                  :

        v                                           :           Civil Action No. RDB-05-2897

FRANK C. SIZER, JR.                                 :

        Respondent                                 :
                                                  o0o

                                   MEMORANDUM OPINION

        The above-captioned Petition for Writ of Mandamus, filed on October 20, 2005, seeks an

order from this Court requiring Respondent to provide Petitioner with a copy of his state post-

conviction transcript free of cost. Paper No. 1. Petitioner asserts that he is in the process of drafting

a federal petition for writ of habeas corpus pursuant to 28 U.S.C. § 2254 and needs a copy of his

post-conviction transcript for that purpose. Id. Although it is unclear from whom Petitioner seeks

a copy of the transcript, a federal writ of mandamus is unavailable for this purpose.

        This Court does not have jurisdiction over state employees in an action for writ of

mandamus. See Gurley v. Superior Court of Mecklenburg County, 411 F.2d 586, 587 (4th Cir.

1969); see also 28 U.S.C. § 1361. Additionally, a writ of mandamus is an extraordinary writ that

is only available in cases where no other means by which the relief sought could be granted. See

Kerr v. United States Dist. Court for the N. Dist. Of Cal., 426 U.S. 394, 402 (1976); In re Beard, 811

F.2d 818, 826 (4th Cir.1987). Assuming that the remedy sought by Petitioner is available in a state

forum, it does not appear that Petitioner has pursued those remedies and, as a matter of comity, this

Court will not intervene in a matter that the State courts have not had an opportunity to address. See
          Case 1:05-cv-02897-RDB Document 2 Filed 11/17/05 Page 2 of 2



Granberry v. Greer, 481 U.S. 129, 134-35 (1987). Accordingly, by separate order which follows,

the Petition shall be dismissed.


November 17, 2005                                 /s/
______________________                            ___________________________________
Date                                                    RICHARD D. BENNETT
                                                  UNITED STATES DISTRICT JUDGE




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